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 1   DONALD MASUDA, State Bar No. 096560
     Attorney at Law
 2   2214 21st Street
     Sacramento, California 95818
 3   Telephone: (916) 456-3030
 4   Attorney for Defendant
     IRMA ANACANI GONZALEZ
 5
 6
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                       Case No. 2:11-cr-00096-JAM
11
                 Plaintiffs,                         STIPULATION AND ORDER
12                                                   AMENDING CONDITIONS OF
     vs.                                             RELEASE
13
14   IRMA ANACANI GONZALEZ, et al,
15               Defendants.
                                                 /
16
17
18               DEFENDANT, IRMA ANACANI GONZALEZ, by and through her
19   attorney of record, DONALD MASUDA, and PLAINTIFF, UNITED STATES OF
20   AMERICA, by and through it attorney of record, Assistant U.S. Attorney, MICHAEL
21   BECKWITH, agree and stipulate as follows:
22               The Conditions of Release, dated April 22, 2011, for Defendant IRMA
23   ANACANI GONZALEZ, are amended and modified as follows:
24               Condition No. 13:
25               The single, one-sentence paragraph commencing with “HOME
26   DETENTION” is deleted. That condition is modified by adding the following:
27   //////
28                                       1
     ________________________________________________________________________
     STIPULATION AND ORDER AMENDING CONDITIONS OF RELEASE
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 1                 CURFEW: You are restricted to your residence at all times except as
 2   directed and approved by the Pretrial Services officer.
 3                 Pretrial Services has no objections to the modification as the defendant has
 4   been in compliance with conditions of release. All other conditions shall remain in effect.
 5   Dated: August 19, 2011
 6                                                    /s/ Donald Masuda
                                                      _________________________________
 7                                                    DONALD MASUDA
                                                      Attorney for Defendant
 8                                                    IRMA ANACANI GONZALEZ
 9
     Dated: August 19, 2011
10
                                                      /s/ Michael Beckwith
11                                                    _________________________________
                                                      MICHAEL BECKWITH
12                                                    Assistant United States Attorney
13
14                                            ORDER
15                 IT IS SO ORDERED.
16
     Dated: August 22, 2011
17
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